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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

PLAQUEMINES PARISH SCHOOL BOARD                                 CIVIL ACTION

VERSUS                                                          NO: 06-7213

INDUSTRIAL RISK INSURERS, ET AL                                 SECTION: “S” (3)


     MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION IN LIMINE TO
            EXCLUDE PLAINTIFF’S EXPERT PAUL AMORUSO

MAY IT PLEASE THE COURT:

       Defendants, Industrial Risk Insurers (“IRI”) and Westport Insurance Corporation

(“Westport”), submit this memorandum in support of their Defendants’ Motion in Limine to

Exclude Plaintiff’s Expert Paul Amoruso.

                                             BACKGROUND

       IRI, doing business in Louisiana through its member company, Westport, provided

property insurance at all time pertinent to this cause to the plaintiff, the Plaquemines Parish

School Board (“PPSB”). Pursuant to the terms and conditions of its policy, IRI insured PPSB’s

school and administration buildings, together with the contents, for approximately $15 million.

PPSB claims that Hurricane Katrina inflicted massive damage to its insured properties. PPSB

brought this action against IRI and Westport, alleging the failure to pay the policy limits and

failure to adjust the claim in good faith.

                                      LAW & ARGUMENT

       PPSB has retained Paul Amoruso, a purported expert in the field of insurance practices.

Rather than offer opinions which would assist the jury in this matter, Mr. Amoruso has rendered

legal conclusions couched as expert opinions. This “expert” therefore seeks to invade the

province of the jury, and, consequently, his testimony has no place in a court of law.
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        Federal Rule of Evidence 702 provides that a witness qualified as an expert may testify in

the form of an opinion if “scientific, technical, or other specialized knowledge will assist the trier

of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702. Rule 704

also provides that opinion testimony, which is otherwise admissible, “is not objectionable

because it embraces an ultimate issue to be decided by the trier of fact.” Fed. R. Evid. 704(a).

Neither Rule 702 nor Rule 704, though, permits expert witnesses to offer conclusions of law. In

the often quoted case of Owen v. Kerr-McGee Corp., 698 F.2d 236 (5th Cir. 1983), the court

held:

               Rule 704... does not open the door to all opinions. ...[Q]uestions
               which would merely allow the witness to tell the jury what result to
               reach are not permitted. Nor is the rule intended to allow a witness
               to give legal conclusions.

Id. at 240 (emphasis in original); see also Snap-Drape, Inc. v. C.I.R., 98 F.3d 194, 198 (5th Cir.

1996) (expert witness reports consisting of legal arguments properly excluded); Alldread v. City

of Grenada, 988 F.2d 1423, 1436-37 (5th Cir. 1993) (expert testimony excluded for being

cumulative, nonessential and consisting of legal conclusions).

        The jury in this matter does not need the alleged expert testimony of Mr. Amoruso to

assist it in understanding the evidence or determining the facts at issue in this insurance contract

dispute. Most importantly, this “expert” should not be permitted to tell the jury what result it

should reach or what legal conclusions it should draw. Yet, this is all Mr. Amoruso attempts to

do in his expert report.

        One need not read any further than the “Present Assignment” section of his report to see

that Mr. Amoruso believes he is to be the fact-finder in this case. He writes, “I have been asked

for my opinion regarding insurance industry practices…and specifically whether the actions and


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in actions [sic] of the defendants complied with these industry practices, with defendants

obligations under the policy and or with applicable law.”1 Then, skipping past Mr. Amoruso’s

laundry list of “Facts” (many of which are inaccurate), one arrives at the “Issues” section of the

report.

           This section contains some of Mr. Amoruso’s most blatant conclusions of law. The

Court will note the frequency with which Mr. Amoruso concludes that IRI’s actions were

“arbitrary and capricious.” He states, for instance:

           There is no question that these buildings suffered severe damages. Further, there
           is no issue that the amount of damages greatly exceeds the $15,000,000 policy
           limit, in addition to the $1,500,000 deductible.

           There is no question that the policy holder has submitted damages for wind and
           rain on four School Board locations that far exceeds the $15,000,000 payable
           under the policy.

           The lack of the insurers [sic] clarification of code upgrade even in there [sic]
           conceptual estimates through the last payment in July, 2008 is arbitrary and
           capricious in putting their [sic] interest before those of the insured.

           IRI has failed to accept the insured’s presentation of damages which decision is
           arbitrary and capricious.
           Louisiana statutes are quite clear as to what an insured must do in submitting a
           claim for damages it has suffered as a result of a loss. [Again, usurping the role
           of the Court as well.]

           IRI, through their [sic] representatives and attorneys, are attempting to require the
           insured to supply unnecessary documents and undefined proof in an obvious
           attempt to stall final payment of the loss. This action is arbitrary and capricious
           on their [sic] part.

           What is even more arbitrary and capricious in the handling of this claim is that the
           insurer actually took depreciation on the value of damage they [sic] only
           conceptualized. … Computing actual cash value…when there is no explanation of
           how they arrived at their actual cash value approach…is arbitrary and capricious
           claims handling.



1
    Ex. A, Amoruso Rep., p. 4. Now usurping the role of the Court as well.
                                                          3
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            The policy holder [sic] entitled to payment of what the damages actually is.2

            Mr. Amoruso shows absolutely no restraint in his section entitled “Opinion.” Again, the

Court will note the frequency with which Mr. Amoruso throws around the phrase “arbitrary and

capricious.” For example, he writes:

            IRI has placed an unnecessary burden on the insured to prove damages above
            what is required by the policy, and usual and customary insurance practice instead
            of on itself to thoroughly investigate the loss suffered by Plaquemines Parish
            School Board.

            IRI forced the policyholder to file suit to receive proper compensation for
            damages suffered under the policy.

            IRI failed to properly interpret the coverage of their own policy when they
            arbitrarily and capriciously claimed the policyholder’s submission of damages
            was inadequate.

            The idea of a conceptual appraisal without specific loss data for each building is
            bad claims handling.

            The time delay of reaching their final opinion, some one year after the loss, was
            uncalled for and unsubstantiated from my file review.

            To arbitrarily and capriciously assign actual cash values on a flat rate basis
            without file substantiation demonstrates a one-sided claims approach of the
            insurer putting their [sic] interests before those of the insured.

            The lack of file documentation clarifying wind and rain damages versus flood
            damages is arbitrary and capricious.

            The loss should have been adjusted on that basis or timely defended with proper
            engineering reports and investigation to support the insurer’s allegations of the
            amount of flood damage. To do otherwise is arbitrary and capricious, and not
            good claims handling.

            The continued rejection of the policyholder’s request of uncontested damages
            submitted to IRI, and their [sic] stating that the insured failed to give [sic]
            adequate description of the damage is unfounded based upon the reports
            submitted.



2
    Id. at pp. 9-11.
                                                     4
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          IRI’s claims actions were, and continue to be, arbitrary and capricious in the
          handling of the claim from the start.

          Failure to clarify the code upgrades allowed to the policyholder is arbitrary and
          capricious.3

          Rather than proper expert opinions, submitted to assist the trier of fact in understanding

the evidence or determining a fact in issue, Mr. Amoruso’s alleged expert opinions amount to

nothing more than an attempt to tell the jury what conclusion to reach. If indeed the Court

decides that “arbitrary and capricious” is the legal standard for claims of bad faith,

determinations as to the arbitrariness and capriciousness of IRI’s actions are for a jury to decide.

Furthermore, the interpretation of statutes and contracts are questions of law, and certainly not

within the scope of Mr. Amoruso’s expertise, whatever that may be.

          Furthermore, Mr. Amoruso’s opinions run afoul of Rule 702 in another respect in that he

offers nothing more than ipse dixit conclusions, unsupported by data or fact. As the Court noted

in General Elec. Co. v. Joiner, 522 U.S. 136, 146, 118 S.Ct. 512, 519 (1997), “Trained experts

commonly extrapolate from existing data. But nothing in either Daubert or the Federal Rules of

Evidence requires a district court to admit opinion evidence that is connected to existing data

only by the ipse dixit of the expert. A court may conclude that there is simply too great an

analytical gap between the data and the opinion proffered.”

          Take for instance, Mr. Amoruso’s method for valuing the School Board’s property

damage in this case:

          I made the assessment that the damages exceeded sixteen and a half million
          dollars by basing it on what I saw in the file, based on the people’s belief of what
          they saw, and I attributed it to covered loss based on the facts in the claims file
          that IRI put together and the insured communicated back and forth.4


3
    Id. at pp.12-13.
4
    Ex. B, Amoruso Depo., 57:4-12.
                                                   5
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When asked whether he performed a damages assessment by physically inspecting any School

Board facilities, Mr. Amoruso stated, “I haven’t done that in 20 years.” 5 Asked to clarify

whether he had done a damage assessment here, Mr. Amoruso responded:

         The answer is, no, I have not seen these buildings. My assessment was done
         based on my experience and my authorization level of being the guy -- I haven’t
         made an inspection of a building in years, but I have made decisions of
         authorization to give people payment on the basis of seeing the facts in the case.6

         Mr. Amoruso’s conclusory statements do not end there. Asked whether he had identified

all of the proofs of loss in this matter, Mr. Amoruso stated, “I can’t think of any others at this

point, no. You’ve seen all the letters that went back and forth on this claim. It’s very simple.

‘Pay me the money. The loss exceeds my policy.’”7 Pressed further, he answers:

         The proofs of loss, the letter summation from [plaintiff’s attorney, W.J.] LeBlanc,
         and the inspections alone were obvious enough that the damage exceeded the
         policy, starting in September of 2005. Everybody that was involved in the
         adjustment process in this loss knew the insured suffered a significant loss. All of
         that was part of -- visual inspections alone say I have been really damaged in
         this.8

         The reliability inquiry under Rule 702 “requires some objective, independent validation

of the expert’s methodology.” Moore v. Ashland Chem. Inc., 151 F. 3d 269, 276 (5th Cir. 1998)

(en banc).       As revealed by Mr. Amoruso’s remarks above, there is no possible way to

independently validate his methodology. Accordingly, Mr. Amoruso cannot be permitted to

offer to the jury statements such as: “My assessment was done based on my experience and my

authorization level of being the guy…” and “visual inspections alone say I have been really

damaged in this.”



5
  Id. at 58:5-10.
6
  Id. at 58:13-21.
7
  Id. at 56:5-9.
8
  Id. at 56:16-25.
                                                  6
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                                           CONCLUSION

        For the foregoing reasons, the opinions of Paul Amoruso should be barred from

admission into evidence at the trial of this matter.

                                                Respectfully submitted,

                                                JAMES RYAN III & ASSOCIATES, LLC

                                                /s/ Jeffrey A. Clayman
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 3rd day of February, 2009, I electronically filed the
foregoing pleading with the Clerk of Court by using the CM/ECF system which will send a
notice of electronic filing to all counsel of record.
                                     /s/ Jeffrey A. Clayman
                                _____________________________
                                   JEFFREY A. CLAYMAN




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